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1                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
2                                    AUSTIN DIVISION
3
     __________________________________________
4                                              )
     UNITED STATES OF AMERICA,                 )
5                                              )
6                      Plaintiff,              )            Civil Action No. 1:23-cv-00853
                                               )
7                v.                            )
                                               )
8
     GREG ABBOTT, in his capacity as GOVERNOR )
9    OF THE STATE OF TEXAS, and THE STATE OF )
     TEXAS,                                    )
10                                             )
                       Defendants.             )
11
     __________________________________________)
12
13   I, Jennifer T. Pena, do declare as follows based on my personal knowledge, as well as
14   information provided to me in the course of my official duties:
15   1. This declaration supplements my declarations of July 25, 2023, and August 14, 2023.
16   2. On August 30, 2023, the USIBWC and the MXIBWC conducted an on-site, joint
17       (binational) topographic survey of the floating barrier that Texas deployed in the Rio
18       Grande in the vicinity of Eagle Pass, Texas. Survey participants were Sidney Rouch
19
         (USIBWC), Adrian Vallejo (USIBWC), Dilaida Sanchez (USIBWC), John Claudio
20
         (USIBWC), and Roberto Enriquez (MXIBWC).
21
     3. The reason for the August 30, 2023, survey was to verify the location of the buoys
22
         vis-à-vis the international boundary after Texas’s relocation of the buoys in August
23
         2023.
24
     4. The joint survey recorded the locations of the buoys and concrete anchors of the line
25
         of buoys that Texas deployed approximately two miles downstream of the Camino
26
         Real International Bridge, in the vicinity of 28° 40’ 21” N, 100° 30’ 14” W. The
27
         survey horizontal datum was North American Datum of 1983, U.S. State Plane
28
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1       Coordinate system Texas South Central Zone, U.S. Survey feet. The survey vertical
2       datum was North American Vertical Datum of 1988.
3    5. Exhibit A is a true and correct copy of the final survey data, including the locations
4       of the buoys and the anchors that were recorded in the joint binational survey. The
5       first column in the spreadsheet is the survey point identification number. The second
6
        column is northing in feet. The third column is easting in feet. The fourth column is
7
        vertical ground elevation in feet. The fifth column describes the object surveyed.
8
        The surveyors recorded the western (Mexico-facing) side of each anchor or buoy.
9
     6. The survey data reflect that the total length of the floating barrier is approximately
10
        995 feet.
11
     7. Pursuant to Article II of the 1970 Treaty, the International Boundary Line (IBL) in
12
        this region is “the middle of the channel occupied by normal flow,” as determined by
13
        the IBWC and updated after periodic surveys. Consistent with Article II(C) of the
14
15      1970 Treaty, the IBWC records the official IBL on aerial photographic mosaics of

16      the Rio Grande. Under Article 25 of the 1944 Treaty, IBWC decisions that delineate

17      changes to the official IBL “shall be recorded in the form of Minutes.” The current
18      IBL delineation was recorded in 2009 as Minute 315 (see https://www.ibwc.gov/wp-
19      content/uploads/2023/04/Minute_315.pdf).
20   8. A comparison of the recorded locations of the buoys to the official IBL, as defined in
21      Minute 315, establishes that the entire buoy line was located within the United States
22      on August 30, 2023.
23   9. Exhibit B is a true and correct copy of a figure prepared by USIBWC that plots the
24      recorded locations of the buoys and anchors of the line of buoys from the joint
25
        binational survey against an approximation of the IBL as delineated by Minute 315,
26
        with United States territory on the east (righthand) side of the boundary and Mexican
27
        territory on the west (lefthand) side of the boundary.
28
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1    10. The USIBWC acts as a public international organization when it conducts surveys
2        along the IBL in concert with MXIBWC. For that reason, communications regarding
3        such surveys that are exchanged between USIBWC and MXIBWC are considered
4        the property and assets of the International Boundary and Water Commission, United
5        States and Mexico, as an international organization. Longstanding IBWC policy
6
         prohibits the disclosure of all communications such as letters, technical information,
7
         studies, and data exchanged between the U.S. and Mexican Sections on such matters
8
         to anyone other than the two countries’ foreign ministries, absent the concurrence of
9
         USIBWC and MXIBWC.
10
     11. On September 14, 2023, MXIBWC expressed its concurrence in the joint binational
11
         survey results. The concurrence extends to both the survey data and the
12
         determinations in Paragraph 8 regarding the location of the floating barrier relative to
13
         the official IBL.
14
15   12. On September 14, 2023, MXIBWC and USIBWC authorized the disclosure of the

16       joint binational survey results to the public.

17
18   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
19   and correct.
20                                                        Executed on September 18
                                                                                __, 2023
21
22
23                                                        Jennifer T. Pena
                                                          USIBWC
24                                                        4191 N. Mesa
25                                                        El Paso, TX 79902

26
27
28
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   Exhibit A to the September 18, 2023
     Declaration of Jennifer T. Pena
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3000 13431474   1486555   689.851 chk in opus
3001 13431620   1486350   675.049 BUOY CL
3002 13431617   1486349   675.053 Buoy
3003 13431606   1486352   675.295 Buoy
3004 13431591   1486358   675.483 Buoy
3005 13431577   1486365   675.375 Buoy
3006 13431563   1486371    675.62 Buoy
3007 13431549   1486378   675.831 Buoy
3008 13431535   1486383   675.668 Buoy
3009 13431520   1486388   676.024 Buoy
3010 13431505   1486393    676.05 Buoy
3011 13431490   1486397   675.819 Buoy
3012 13431475   1486402   675.616 Buoy
3013 13431461   1486408   675.534 Buoy
3014 13431446   1486413   675.552 Buoy
3015 13431432   1486418   675.545 Buoy
3016 13431417   1486424   675.989 Buoy
3017 13431403   1486430   675.738 Buoy
3018 13431388   1486436   675.549 Buoy
3019 13431374   1486441   675.815 Buoy
3020 13431359   1486446   675.616 Buoy
3021 13431344   1486451   675.417 Buoy
3022 13431330   1486455   675.589 Buoy
3023 13431314   1486458   676.322 Buoy
3024 13431299   1486462   676.132 Buoy
3025 13431283   1486467   675.791 Buoy
3026 13431268   1486472   676.194 Buoy
3027 13431253   1486477   676.325 Buoy
3028 13431238   1486481    676.05 Buoy
3029 13431223   1486486   675.728 Buoy
3030 13431207   1486491     676.2 Buoy
3031 13431192   1486496   676.719 Buoy
3032 13431177   1486501   675.593 Buoy
3033 13431162   1486506    675.45 Buoy
3034 13431147   1486510   675.773 Buoy
3035 13431132   1486514   675.627 Buoy
3036 13431116   1486519   675.848 Buoy
3037 13431101   1486521   675.545 Buoy
3038 13431085   1486525   676.117 Buoy
3039 13431070   1486530   676.204 Buoy
3040 13431055   1486534   675.986 Buoy
3041 13431040   1486541   675.552 Buoy
3042 13431025   1486546    675.52 Buoy
3043 13431010   1486551   675.498 Buoy
3044 13430995   1486557   675.045 Buoy
3045 13430980   1486562   675.074 Buoy
3046 13430964   1486566   674.924 Buoy
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3047 13430949   1486570    674.67 Buoy
3048 13430933   1486574   674.522 Buoy
3049 13430918   1486579   674.616 Buoy
3050 13430903   1486583   673.943 Buoy
3051 13430888   1486589   674.101 Buoy
3052 13430873   1486593   673.552 Buoy
3053 13430857   1486598    672.93 Buoy
3054 13430842   1486603   673.362 Buoy
3200 13430834   1486605   674.812 Anchor
3055 13430827   1486608   673.874 Buoy
3056 13430812   1486611    673.67 Buoy
3057 13430796   1486615   674.162 Buoy
3058 13430781   1486619   673.657 Buoy
3059 13430766   1486624   673.795 Buoy
3060 13430751   1486628   673.405 Buoy
3061 13430737   1486633   673.389 Buoy
3062 13430722   1486637   673.186 Buoy
3063 13430707   1486640   673.672 Buoy
3064 13430691   1486645   673.329 Buoy
3065 13430676   1486650   673.139 Buoy
3201 13430665   1486653   674.252 Anchor
3202 13430666   1486655    673.66 Buoy
3203 13430665   1486657   674.348 BUOY CL
3204 13430711   1486644   676.687 BUOY CL
3205 13430835   1486614    674.33 Anchor
3206 13430791   1486627   673.449 Anchor
3207 13430834   1486613   674.383 Anchor
3208 13430853   1486608   674.459 Anchor
3209 13430878   1486598   674.867 Anchor
3211 13430940   1486577   675.781 Anchor
3212 13430992   1486565   676.279 Anchor
3213 13431016   1486555   676.586 Anchor
3214 13431069   1486535    676.89 Anchor
3215 13431095   1486532   676.932 Anchor
3216 13431120   1486526   677.151 Anchor
3217 13431145   1486516   677.014 Anchor
3218 13431170   1486512   677.018 Anchor
3219 13431195   1486505   677.269 Anchor
3220 13431222   1486497   677.175 Anchor
3221 13431247   1486490   677.171 Anchor
3222 13431272   1486484   677.265 Anchor
3223 13431300   1486476   677.119 Anchor
3224 13431324   1486468   676.961 Anchor
3225 13431348   1486459   677.094 Anchor
3226 13431375   1486452   677.145 Anchor
3227 13431399   1486442   677.251 Anchor
3228 13431423   1486433   677.191 Anchor
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3229 13431449   1486423   677.203 Anchor
3230 13431473   1486415   677.353 Anchor
3231 13431497   1486406   677.402 Anchor
3232 13431522   1486395   677.296 Anchor
3233 13431546   1486387   677.013 Anchor
3234 13431570   1486378   677.307 Anchor
3235 13431595   1486373   676.586 Anchor
3236 13431615   1486358   676.763 Anchor
3237 13431639   1486350   676.517 Anchor
3238 13431666   1486336   676.218 Anchor
3239 13431692   1486338   676.486 Anchor
3240 13431717   1486334   676.506 Anchor
3241 13431661   1486325   675.765 Anchor
3242 13431612   1486345   676.499 Anchor
3243 13431588   1486354   676.762 Anchor
3244 13431536   1486373    677.13 Anchor
3245 13431515   1486380   677.268 Anchor
3246 13431493   1486390   676.776 Anchor
3247 13431467   1486398   677.148 Anchor
3248 13431444   1486407   677.173 Anchor
3249 13431419   1486418   676.814 Anchor
3250 13431395   1486424   677.123 Anchor
3251 13431371   1486433   677.178 Anchor
3252 13431319   1486450   677.059 Anchor
3253 13431295   1486457   677.142 Anchor
3254 13431243   1486474   677.265 Anchor
3255 13431219   1486482   677.239 Anchor
3256 13431168   1486497   677.076 Anchor
3257 13431143   1486504   677.144 Anchor
3258 13431090   1486520   677.018 Anchor
3259 13431066   1486527   677.057 Anchor
3260 13431016   1486546   676.635 Anchor
3261 13430991   1486552   676.627 Anchor
3262 13430938   1486565   676.137 Anchor
3263 13430914   1486575   676.266 Anchor
3264 13430916   1486584   675.574 Anchor
3265 13430851   1486597   674.922 Anchor
3266 13430762   1486617    674.32 Anchor
3267 13430740   1486624   673.893 Anchor
3268 13430721   1486628   673.988 Anchor
3269 13430767   1486638   673.527 Anchor
3270 13430816   1486624   673.814 Anchor
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   Exhibit B to the September 18, 2023
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